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     United States Attorney
2    TODD D. LERAS
     PAUL HEMESATH
3    Assistant U.S. Attorneys
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4    Sacramento, California 95814
     Telephone: (916) 554-2700
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7
8               IN THE UNITED STATES DISTRICT COURT FOR THE
9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )
                                      )    CR. S-12-315 JAM
12             Plaintiff,             )
                                      )   STIPULATION AND PROTECTIVE
13                                    )   ORDER REGARDING DISSEMINATION
          v.                          )   OF DISCOVERY DOCUMENTS
14                                    )   CONTAINING PERSONAL
     PETER WOODARD,                   )   IDENTIFICATION INFORMATION
15                                    )
               Defendant.             )
16                                    )
17
18        IT IS HEREBY STIPULATED AND AGREED among the parties and
19   their respective counsel, Todd D. Leras and Paul Hemesath,
20   Assistant United States Attorneys, on behalf of the government,
21   and Attorney Daniel F. Koukol on behalf of defendant Peter
22   Woodard, that the documents to be provided as discovery in this
23   case are subject to a Protective Order.
24        Defendant is charged with various mail and wire fraud
25   offenses related to an alleged scheme to acquire real property on
26   behalf of numerous investors.     The parties agree that discovery
27   in the case necessarily contains Protected Information.          The
28   phrase “Protected Information” as used in this stipulation and

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1    order includes investor Social Security Numbers, Driver’s License
2    Numbers, dates of birth, addresses, telephone numbers, e-mail
3    addresses, and any other personal or financial identifying
4    information.   This Protective Order extends to all documents
5    provided by the government to defense counsel in this case,
6    including those items related to conduct not charged in the
7    Indictment.
8         By signing this Stipulation and Protective Order, defense
9    counsel agrees not to share any documents containing Protected
10   Information in unredacted form with any person other than primary
11   counsel, assisting counsel, designated defense investigators, and
12   support staff.   Defense counsel may allow the client to view
13   unredacted documents in the presence of his attorney, an
14   investigator, and/or appropriate support staff.
15        The parties further agree that defense counsel, an
16   investigator, and support staff shall not permit defendant to
17   copy, either in writing or by other means, Protected Information
18   contained in the discovery.     Defense counsel, an investigator and
19   support staff may provide the client with copies of documents
20   from which all Protected Information has been redacted.
21        In the event that defendant substitutes counsel, the
22   undersigned attorney agrees to withhold documents containing
23   Protected Information from new counsel until such time as
24   substituted counsel agrees to be bound by this Protective Order.
25        This stipulation and protective order has been provided to
26   defense counsel for review.     Following review of its contents,
27   Assistant U.S. Attorney Todd Leras has been authorized via e-mail
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1    to sign this stipulation on behalf of Attorney Daniel F. Koukol.
2
3    DATED: February 4, 2013            By:     /s/ Todd D. Leras
                                              TODD D. LERAS
4                                             Assistant U.S. Attorney
5    DATED: February 4, 2013            By:     /s/ Paul Hemesath
                                              PAUL HEMESATH
6                                             Assistant U.S. Attorney
7    DATED: February 4, 2013                  By:   /s/ Todd D. Leras for
                                               DANIEL F. KOUKOL
8                                              Attorney for Defendant
                                               PETER WOODARD
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3         FOR GOOD CAUSE SHOWN, pursuant to the stipulation of
4    counsel, Protected Information provided to defense counsel by the
5    government as discovery in Case Number S-12-315 JAM shall:
6         1.    Be shared in unredacted format only among primary
7    counsel, assisting counsel, a designated defense investigator and
8    support staff;
9         2.    Be viewed by a defendant in unredacted format only in
10   the presence of his attorney, an investigator, and/or
11   appropriate support staff; and
12        3.    Be provided to defendant only in a copy from which all
13   Protected Information has been redacted.
14        No person shall permit defendant to copy, either in writing
15   or by other means, Protected Information contained in the
16   discovery.     No person shall provide substitute counsel with
17   documents containing Protected Information until such time as
18   substitute counsel has agreed to be bound by this Protective
19   Order.
20        IT IS SO ORDERED
21
22   Date: 2/5/2013
                                         /s/ John A. Mendez
23                                       JOHN A. MENDEZ
                                         UNITED STATES DISTRICT COURT JUDGE
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